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                                                                                 E-FILED
 1                                                                      THURSTON COUNTY, WA
       EXPEDITE                                                           SUPERIOR COURT
 2     No hearing set
       Hearing is set:
                                                                         06/08/2020 10:33:29 AM
 3    Date:                                                                Linda Myhre Enlow
      Time:                                                               Thurston County Clerk
 4    Judge/Calendar:
 5

 6                            STATE OF WASHINGTON
 7          SUPERIOR COURT OF WASHINGTON FOR THE COUNTY OF THURSTON

 8    In the Matter of:
                                                        Case No.     20-2-01568-34
 9    TODD BRINKMEYER
                                                        PETITION FOR DECLARATORY
10                        Petitioner,                   JUDGMENT
11
             v.
12
      WASHINGTON STATE LIQUOR AND
13    CANNABIS BOARD,

14                        Respondent.

15

16                                  I.   PARTIES AND JURISDICTION

17          1.      Petitioner Todd Brinkmeyer is an Idaho resident and a highly valued advisor and

18   financier of a retailer licensed to sell marijuana in Washington (the "Retailer").

19          2.      Respondent the Washington State Liquor and Cannabis Board (the "LCB") is an

20   agency of the State of Washington with its headquarters in Olympia, Washington.

21          3.      This Court has personal jurisdiction over the parties.

22          4.      This Court has subject matter jurisdiction over this action under RCW 34.05.570

23   and RCW 7.24.010 et seq.

24          5.      Venue is proper in this Court under RCW 34.05.570.

25

26



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 1                                                I.   FACTS
 2   A.     Washington voters approved recreational marijuana in 2012.
 3          6.      In 2012, the people of Washington approved Initiative Measure 502 (“I-502”),

 4   which legalized the possession and sale of marijuana. In codifying I-502, the legislature affirmed

 5   the stated intent of I-502 “to stop treating adult marijuana use as a crime and try a new approach

 6   that: (1) Allows law enforcement resources to be focused on violent and property crimes;

 7   (2) Generates new state and local tax revenue for education, health care, research, and substance

 8   abuse prevention; and (3) Takes marijuana out of the hands of illegal drug organizations and

 9   brings it under a tightly regulated, state-licensed system similar to that for controlling hard

10   alcohol.” I-502 §1.

11          7.      The marijuana industry has been an economic powerhouse for the State of

12   Washington. According to the LCB's annual reports, the State has received more than $1.3

13   billion in excise tax and fees generated from the sale of marijuana since 2014.

14   B.     Washington law imposes a durational residency requirement on all licensees and
            true parties of interest to marijuana licenses.
15
            8.      The LCB tightly regulates the marijuana industry, and there are hundreds of rules
16
     that marijuana businesses must follow. See generally, RCW 69.50 et seq.; WAC 314-55 et seq.
17
     (the "LCB Rules"). The LCB Rules include criteria applicants must satisfy to become an owner
18
     of a licensed marijuana business.
19
            9.      The LCB Rules require owners of marijuana businesses to obtain licenses from
20
     the LCB. Those interested in becoming a licensee must submit an application, after which the
21
     LCB thoroughly investigates the applicant to verify compliance with the LCB Rules.
22
            10.     In addition to verifying the applicant would not pose a threat to public health and
23
     safety if given a license, the LCB also verifies that the applicant has resided in Washington for at
24
     least six months. That is because, by statute and rule, Washington law imposes a durational
25
     residency requirement on those who apply for marijuana licenses.
26




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 1
            11.       The statutory residency requirement is in RCW 69.50.331(1)(b), which provides
 2
     the following:
 3
            No license of any kind may be issued to:
 4
                      (i) A person under the age of twenty-one years;
 5
                      (ii) A person doing business as a sole proprietor who has not lawfully
 6
                      resided in the state for at least six months prior to applying to receive a
 7                    license;

 8                    (iii) A partnership, employee cooperative, association, nonprofit corporation,
                      or corporation unless formed under the laws of this state, and unless all of
 9                    the members thereof are qualified to obtain a license as provided in this
                      section; or
10
                      (iv) A person whose place of business is conducted by a manger or agent,
11
                      unless the manager or agent possesses the same qualifications required of the
12                    licensee.

13
            12.       Notably, the statutory residency requirement in RCW 69.50.331(1)(b) applies
14
     only to sole proprietorships.
15
            13.       The LCB expanded the residency requirement through promulgating WAC 314-
16
     55-020(10), which expressly requires all marijuana license applicants to reside in Washington for
17
     "at least six months" before submitting their application to the LCB:
18
            Under RCW 69.50.331 (1)(c) [sic], all applicants applying for a marijuana
19          license must have resided in the state of Washington for at least six months
            prior to application for a marijuana license. All business entities including, but
20          not limited to, partnerships, employee cooperatives, associations, nonprofit
21          corporations, corporations and limited liability companies, applying for a marijuana
            license must be formed in Washington. All members, governors, or agents of
22          business entities must also meet the six month residency requirement.
            Managers or agents who manage a licensee's place of business must also meet
23          the six month residency requirement.
24          14.       The LCB further expanded the residency requirement in WAC 314-55-035, which

25   requires all true parties of interest ("TPIs") to be applicants for a marijuana license. TPIs, which

26   include shareholders, members, managers, partners, officers, stockholders, those who exercise




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 1
     control over a marijuana business, and any of their spouses must meet the residency requirement
 2
     in WAC 314-55-020(10).
 3
            15.     Moreover, through policy and practice, the LCB requires all applicants it
 4
     approves as a licensee or TPI to remain a Washington resident. In other words, once a licensee
 5
     obtains a license, they will forfeit their license (and their business) if they become a resident of
 6
     anywhere other than Washington.
 7
            16.     RCW 69.50.331(1)(b), WAC 314-55-020(10), and WAC 314-55-035 are referred
 8
     to collectively as the "Residency Requirements." WAC 314-55-020(10) and WAC 314-55-035
 9
     are referred to collectively as the "Rules."
10
     C.     The Residency Requirements are not necessary to vet and approve applicants, but
11          serve the purpose of discriminating against nonresidents for the benefit of
            Washington residents.
12
            17.     The LCB initially included the Residency Requirements because of concerns
13
     regarding criminal background investigations. After the people of Washington approved I-502,
14
     the FBI indicated it would not provide Washington with access to its national criminal database,
15
     and the State was concerned it could verify applicants' criminal histories only through the
16
     Washington State Patrol database. But the FBI relented—before the very first license was issued
17
     under I-502—and agreed to give the LCB access to the federal database.
18
            18.     The LCB has since justified the Residency Requirements by asserting it is
19
     beneficial to exclude nonresidents from participating in the state's marijuana industry to the same
20
     degree as residents. LCB members have justified the Residency Requirements as necessary to
21
     protect "mom and pop" marijuana businesses in Washington.
22

23   D.     The LCB has vetted and approved Petitioner as a debt financier for marijuana
            businesses, but prohibits him from obtaining equity in marijuana businesses
24          through investments or profit share-based compensation.

25          19.     The LCB submits financiers of licensed marijuana businesses to the same vetting

26   and approval process that it performs on licensees and TPIs, except debt financiers are not




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 1
     subject to the Residency Requirements.
 2
             20.    The LCB has twice vetted and approved Petitioner as a debt financier. The LCB
 3
     approved him as a financier in his individual capacity. The LCB also approved ATC2, LLC as a
 4
     financier for the Retailer. The LCB's process for approving ATC2 involved vetting and
 5
     approving Petitioner (and his wife) because he is a lender to and owner of ATC2.
 6
             21.    Through its approval of ATC2 as a financier for the Retailer, the LCB has
 7
     approved Petitioner as a debt financier for the Retailer.
 8
             22.    While Petitioner is able to invest in marijuana businesses in Washington by
 9
     providing debt financing and receiving interest payments, the Residency Requirements prevent
10
     Petitioner from sharing in the profit of those businesses by providing equity financing because he
11
     is not a Washington resident.
12
             23.    The Residency Requirements also prohibit the Retailer from giving equity to
13
     Petitioner as compensation in the same manner that other, non-cannabis businesses are able to
14
     compensate their advisors or employees.
15
     E.      The LCB refuses to allow Petitioner to become an owner of the Retailer because he
16           is an Idaho resident.
17           24.    One of the Retailer owners is in ill health, and, in planning out the transfer of his
18   estate upon his declining health or death, would like to bequeath in part and sell in part his
19   ownership interest in the Retailer to Petitioner.
20           25.    Counsel for Petitioner inquired with the LCB about whether it would approve
21   Petitioner as an owner of the Retailer. On May 20, 2020, the LCB confirmed it would deny
22   Petitioner's application to be put on the Retailer's license because Petitioner does not comply
23   with the Residency Requirements.
24           26.    The LCB has thus concluded it is safe for the Retailer to take Petitioner's money,
25   but against public policy for Petitioner to become an owner of the business he works for and
26   invests in.




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 1
                27.     Petitioner thus seeks an order invalidating the Residency Requirements.
 2
     Petitioner's challenges to the Residency Requirements are authorized by RCW 7.24.020 and
 3
     RCW 34.05.570(2).
 4
     F.         States and courts alike recognize residency requirements are unconstitutional.
 5
                28.     When other plaintiffs have brought challenges like the Petitioner's, they have been
 6
     successful. For example, the United States Supreme Court struck Tennessee's residency
 7
     requirement for liquor store licensees after finding the residency requirement did not promote
 8
     public health and safety. Tennessee Wine & Spirits Retailers Ass'n v. Thomas, 139 S. Ct. 2449,
 9
     2474–75, 204 L. Ed. 2d 801 (2019).
10
                29.     In the context of the legalized adult-use marijuana industry, Maine recently
11
     declined to defend the constitutionality of its residency requirement, which is strikingly similar
12
     to Washington's Residency Requirements. 1 The residency requirement was so patently
13
     unconstitutional that Maine announced it would cease enforcing the residency requirement after
14
     a complaint was filed but before the court heard a single motion in the case.
15
          II.            FIRST CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON
16                                THE DORMANT COMMERCE CLAUSE
17              30.     Petitioner incorporates the preceding allegations.

18              31.     The Residency Requirements violate the Dormant Commerce Clause of the

19   Constitution for the United States.

20              32.     The Residency Requirements discriminate against nonresident economic actors,

21   including Petitioner.

22              33.     The effect of the Residency Requirements is to favor in-state economic interests

23   over out-of-state interests.

24              34.     The Residency Requirements are not narrowly tailored to advance a legitimate

25   local purpose.

26   1
         https://www.maine.gov/dafs/omp/news-events/news/aump-lawsuit-residency-requirement




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 1
             35.    There are no set of circumstances in which the Residency Requirements, as
 2
     currently written, can be constitutionally applied, so the Residency Requirements are both
 3
     facially invalid and as applied to Petitioner.
 4
     III.    SECOND CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON THE
 5                   ARTICLE IV PRIVILEGES AND IMMUNITIES CLAUSE
 6           36.    Petitioner incorporates the preceding allegations.

 7           37.    The Residency Requirements violate the Privileges and Immunities Clause under

 8   Article IV of the Constitution for the United States.

 9           38.    The Residency Requirements violate Petitioner's fundamental rights that are

10   protected by the Privileges and Immunities Clause.

11           39.    The Residency Requirements discriminate against nonresidents, including

12   Petitioner.

13           40.    The LCB lacks a substantial reason to treat Petitioner differently from

14   Washington residents, and any reason it may have does not bear a substantial relationship to the

15   discrimination against Petitioner based on his nonresident status.

16           41.    There are no set of circumstances in which the Residency Requirements, as

17   currently written, can be constitutionally applied, so the Residency Requirements are both

18   facially invalid and as applied to Petitioner.

19     IV.    THIRD CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON THE
                   14TH AMENDMENT'S PRIVILEGES OR IMMUNITIES CLAUSE
20
             42.    Petitioner incorporates the preceding allegations.
21
             43.    The Residency Requirements violate the Privileges or Immunities Clause of the
22
     14th Amendment.
23
             44.    The Residency Requirements discriminate against nonresidents, including
24
     Petitioner.
25
             45.    The Residency Requirements violate Petitioner's fundamental rights that are
26




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 1
     protected by the Privileges or Immunities Clause.
 2
             46.    The Residency Requirements are not narrowly tailored to serve a compelling
 3
     governmental interest.
 4
             47.    There are no set of circumstances in which the Residency Requirements, as
 5
     currently written, can be constitutionally applied, so the Residency Requirements are both
 6
     facially invalid and as applied to Petitioner.
 7
      V.     FOURTH CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON THE
 8                      14TH AMENDMENT'S DUE PROCESS CLAUSE
 9           48.    Petitioner incorporates the preceding allegations.

10           49.    Without a rational basis for doing so, the Residency Requirements burden

11   Petitioner's due process rights.

12           50.    There is no rational basis for treating Petitioner differently from other similarly

13   situated residents.

14           51.    There are no set of circumstances in which the Residency Requirements, as

15   currently written, can be constitutionally applied, so the Residency Requirements are both

16   facially invalid and as applied to Petitioner.

17     VI.    FIFTH CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON THE
                      14TH AMENDMENT'S EQUAL PROTECTION CLAUSE
18
             52.    Petitioner incorporates the preceding allegations.
19
             53.    The Residency Requirements violate the Equal Protection Clause of the 14 th
20
     Amendment.
21
             54.    The Residency Requirements discriminate against Petitioner based on his
22
     nonresident status, and burden his fundamental rights.
23
             55.    The Residency Requirements are not narrowly tailored to serve a compelling
24
     governmental interest.
25
             56.    There is no rational basis for treating Petitioner differently from other similarly
26




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 1
     situated residents.
 2
                57.   There are no set of circumstances in which the Residency Requirements, as
 3
     currently written, can be constitutionally applied, so the Residency Requirements are both
 4
     facially invalid and as applied to Petitioner.
 5
      VII.       SIXTH CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON THE
 6                PRIVILEGES OR IMMUNITIES CLAUSE OF THE WASHINGTON STATE
                                        CONSTITUTION
 7
                58.   Petitioner incorporates the preceding allegations.
 8
                59.   The Residency Requirements violate Petitioner's fundamental rights that are
 9
     protected by the Privileges or Immunities Clause in Article I, section 12 of the Washington State
10
     Constitution.
11
                60.   The Residency Requirements unfairly discriminate against Petitioner as a
12
     nonresident applicant for a marijuana license to the benefit of resident applicants for a marijuana
13
     license.
14
                61.   The State has no reasonable ground for granting these privileges or immunities to
15
     residents and not to Petitioner.
16
                62.   There are no set of circumstances in which the Residency Requirements, as
17
     currently written, can be constitutionally applied, so the Residency Requirements are both
18
     facially invalid and as applied to Petitioner.
19
      VIII.       SEVENTH CAUSE OF ACTION: DECLARATORY JUDGMENT BASED ON
20                            EXCEEDING STATUTORY AUTHORITY
21              63.   Petitioner incorporates the preceding allegations.

22              64.   Regulations are invalid if they exceed the statutory authority of an agency.

23   RCW 34.05.570(2)(c). Regulations exceed statutory authority if the regulations contradict a

24   statute.

25              65.   RCW 69.50.331(1)(b) imposes a durational residency requirement exclusively on

26   sole proprietorships. The Rules contradict RCW 69.50.331(1)(b) by imposing the durational




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 1
     residency requirement on all license applicants and TPIs. The Rules therefore impermissibly
 2
     exceed the LCB’s statutory authority and are invalid.
 3
                                         IX.    PRAYER FOR RELIEF
 4
     As a result, Petitioner asks the Court for an order:
 5
             1.         Declaring that RCW 69.50.331(1)(b), WAC 314-55-020(10), and
 6
     WAC 314-55-035 are unconstitutional and invalid;
 7
             2.         Declaring that WAC 314-55-020(10) and WAC 314-55-035 are invalid because
 8
     they exceed the statutory authority of the LCB;
 9
             3.         Permanently enjoining the LCB from enforcing RCW 69.50.331(1)(b),
10
     WAC 314-55-020(10), and WAC 314-55-035;
11
             4.         Awarding Petitioner his reasonable attorneys’ fees and costs;
12
             5.         Entering any other relief the Court deems fair and equitable.
13

14           DATED this 8th day of June, 2020.
15                                                            MILLER NASH GRAHAM & DUNN, LLP
16
                                                              /s/ Andy Murphy
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